       Case 4:03-cv-02628-CW Document 478 Filed 10/07/05 Page 1 of 6



 1   LEVY, RAM & OLSON LLP
     MICHAEL F. RAM (S.B. # 104805)
 2   HEATHER M. MILLS (S.B. # 215293)
     639 Front Street, Fourth Floor
 3   San Francisco, CA 94111-1913
     Telephone: (415) 433-4949
 4   Facsimile:     (415) 433-7311

 5   Attorneys for Plaintiffs and Class Members

 6
     BRIAN C. ANDERSON (S.B. # 126539)
 7   MICHAEL F. TUBACH (S.B. #145955)
     RANDALL W. EDWARDS (S.B. #179053)
 8   STEVEN E. SWANEY (S.B. #221437)
     O'MELVENY & MYERS LLP
 9   Embarcadero Center West
     275 Battery Street, Suite 2600
10   San Francisco, CA 94111-3305
     Telephone: (415) 984-8700
11   Facsimile:     (415) 984-8701

12   Attorneys for Defendant
     FORD MOTOR COMPANY
13

14                              UNITED STATES DISTRICT COURT

15                           NORTHERN DISTRICT OF CALIFORNIA

16                                      OAKLAND DIVISION

17

18   SUSAN CHAMBERLAN, BRIAN                      Case No. C 03-02628 CW
     CHAMPINE, and HENRY FOK, on behalf
19   of themselves and all others similarly       FINAL ORDER AND JUDGMENT
     situated, and on behalf of the general       APPROVING SETTLEMENT
20   public,
                                                  Judge: Hon. Claudia Wilken
21                        Plaintiffs,

22          v.

23   FORD MOTOR COMPANY and DOES 1
     through 20, inclusive,
24
                          Defendants
25

26

27

28
                                                                             FINAL JUDGMENT
                                                                        CASE NO. C 03-02628 CW
         Case 4:03-cv-02628-CW Document 478 Filed 10/07/05 Page 2 of 6



 1                                   FINAL ORDER AND JUDGMENT
 2           The parties jointly moved this Court for an Order finally approving their settlement,
 3   certifying a settlement class, and taking certain other actions. On October 7, 2005, the Court held
 4   a hearing on the motions and the fairness of the settlement.
 5

 6           Upon cons idering the parties’ Settlement Agreement and Release 1 and the accompanying
 7   exhibits (including forms of notice and claim forms ) (collectively “Settlement Agreement”), all
 8   papers in support of the settlement filed by the parties, plaintiffs’ petition for fees and costs, all
 9   objections to the settlement, the record in this case, the arguments of counsel, and other materials
10   relevant to this matter, it is hereby ORDERED as follows:
11

12           1.      This Court has both subject matter jurisdiction and personal jurisdiction as to this
13   action and all Parties before it.
14

15           2.      The Court has carefully considered the objections that have been filed.
16

17           3.      The Parties reached a proposed settlement only after years of vigorous litigation.
18   In the absence of settlement it would be necessary to continue prosecuting the various Related
19   Actions through pre-trial and trial. Even if plaintiffs were successful in one or more of the
20   actions at trial, the series of appeals Ford has indicated it would take regarding both the merits of
21   the case as well as any class certification orders would delay substantially the Settlement Class
22   Members’ receipt of any benefits from the Related Actions. There are significant risks in this
23   litigation, whose outcome is uncertain; therefore, balancing the costs, risks, and delay of
24   continued litigation against the benefits of the settlement to the Settlement Class, the Court has
25   concluded that the settlement as provided in the Settlement Agreement will be in the best interests
26   of the Settlement Class.
27
     1
             All capitalized terms in this Final Order and Judgment shall have the meaning and effect
28   prescribed in the Settlement Agreement.
                                                                                          FINAL JUDGMENT
                                                                                     CASE NO. C 03-02628 CW
       Case 4:03-cv-02628-CW Document 478 Filed 10/07/05 Page 3 of 6



 1          4.      Taking these factors into account, along with the points set forth in the parties’
 2   respective responses to the objections, the Court concludes that the proposed settlement
 3   represents a reasonable compromise of the claims that have been asserted in these actions.
 4

 5          5.      The Court approves the terms of the Settlement Agreement – attached as Exhibit A
 6   and incorporated herein by reference – as fair, adequate and reasonable as it applies to all
 7   Plaintiffs and Settlement Class Members. The Court further directs implementation of all terms
 8   and provisions of the Settlement Agreement.
 9

10          6.      The Mailed Notice and Summary Notice, the contents of which were previously
11   approved by the Court’s June 22, 2005 Order, have been disseminated in accordance with
12   procedures required by the Court’s Order and the law. These materials (a) provided the best
13   practicable notice, (b) were reasonably calculated, under the circumstances, to apprise Settlement
14   Class Members of the pendency of the action, the terms of the proposed settlement, and of their
15   right to appear or object to or exclude themselves from the proposed settlement, (c) were
16   reasonable and constituted due, adequate, and sufficient notice to all persons entitled to receive
17   notice, and (d) and fully complied with United States law.
18

19          7.      On September 8, 2004, the Court issued an order certifying a class that included
20   residents of California only (the “California Certification Order”). At the time of the settlement
21   negotiations, other related putative class actions were pending outside the State of California:
22   McGettigan v. Ford Motor Co., Case No. CV-2002-3400-JRL in the Circuit Court of Mobile
23   County, Alabama, and Rhea v. Ford Motor Co., CJ-05-55, in the District Court for Adair County,
24   State of Oklahoma. Collectively, these three actions are referred to as the “Related Actions.”
25   The Parties have made a sufficient showing that a nationwide class should, consistent with the
26   Court’s June 22, 2005 Order, remain certified for settlement purposes only, consisting of persons
27   who meet the following criteria:
28          All persons residing in the United States who currently own or lease, or previously
                                                                                       FINAL JUDGMENT
                                                    -2-                           CASE NO. C 03-02628 CW
       Case 4:03-cv-02628-CW Document 478 Filed 10/07/05 Page 4 of 6



 1          owned or leased, a 1996 through 2002 model- year Ford, Lincoln, or Mercury
            vehicle equipped with a 4.6- liter, 2-valve V-8 engine having an all-composite air
 2          intake manifold as original equipment, other than vehicles which have already
            received an extended warranty pursuant to a Ford Owner Notification Program
 3          action. Specifically, class vehicles include those 1996-2001 Mercury Grand
            Marquis, 1996-2001 Ford Crown Victorias, 1996-2001 Lincoln Town Cars, 1997
 4          Mercury Cougars and Ford Thunderbirds and Mustangs manufactured after
            June 24, 1997, 1998-2001 Ford Mustangs, and certain 2002 Ford Explorers that
 5          were equipped with the 4.6- liter, 2-valve V-8 engine.

 6          Excluded from the class are the following:

 7                  a. Ford, its subsidiaries and affiliates, officers, and directors;

 8                  b. the judge to whom this case is assigned and any member of the judge’s

 9   immediate family;

10                  c. persons who have settled with and released Ford from individual claims
     substantially similar to those alleged in the Related Actions; and
11

12                  d. persons who have previously timely and validly requested exclusion from the
     class certified in the Chambleran action.
13

14          8.      If, for any reason, the Effective Date of the Settlement does not occur, this Order
15   certifying a settlement class shall be vacated nunc pro tunc.
16

17          9.      All Parties are bound by this Final Order and Judgment and by the Settlement
18   Agreement.
19

20          10.     The Court dismisses, on the merits and with prejudice, all claims currently pending
21   before it belonging to Settlement Class Members who did not request exclusion from the
22   Settlement Class in the time and manner provided for in the Settlement Agreement.
23

24          11.     Ford and the Ford Related Parties are forever discharged from the Released
25   Claims, as that term is defined at Paragraph 10 of the Settlement Agreement, belonging to all
26   Settlement Class Members who did not request exclusion from the Settlement Class in the time
27   and manner provided for the in the Settlement Agreement. This release occurs pursuant to the
28
                                                                                        FINAL JUDGMENT
                                                     -3-                           CASE NO. C 03-02628 CW
       Case 4:03-cv-02628-CW Document 478 Filed 10/07/05 Page 5 of 6



 1   terms and covenants of the Settlement Agreement. Provided, however, that nothing in this Final
 2   Order and Judgment is intended to bar Plaintiffs or Settlement Class Members from seeking to
 3   enforce or otherwise implement the Settlement Agreement and/or claims arising out of, based
 4   upon, or related to personal injury, regardless of whether the claim is brought in an action or
 5   matter making allegations pertaining to an intake manifold or its effects, and regardless of
 6   whether such claims arose before or after the Settlement.
 7

 8          12.     All Settlement Class Members who did not make a valid request for exclusion
 9   from the Settlement Class in the time and manner provided in the Settlement Agreement are
10   barred, permanently enjoined, and restrained from commencing or prosecuting any action, suit,
11   proceeding, claim, or cause of action in any jurisdiction or court against Ford and/or the Ford
12   Related Parties based upon, relating to, or arising out of, any of the Released Claims.
13

14          13.     The claims of Settlement Class Members who validly elected to be excluded from
15   the Settlement Class in the time and manner provided for in the Settlement Agreement are
16   dismissed without prejudice.
17

18          14.     For good cause shown, the Court awards Class Counsel reasonable attorney fees of
19   $4,500,000.00, in addition to an award of reasonable actual expenses in connection with litigating
20   the Related Actions in the amount of $738,817.78.
21

22          15.     The Settlement Agreement shall not be offered or be admissible in evidence by or
23   against Ford or cited or referred to in any other action or proceeding, except (1) in any action or
24   proceeding brought by or against the Parties to enforce or otherwise implement the terms of the
25   Settlement Agreement, or (2) in any action involving Plaintiffs, Settlement Class Members, or
26   any of them, to support a defense of res judicata, collateral estoppel, release, or other theory of
27   claim preclusion, issue preclusion, or similar defense.
28
                                                                                        FINAL JUDGMENT
                                                     -4-                           CASE NO. C 03-02628 CW
       Case 4:03-cv-02628-CW Document 478 Filed 10/07/05 Page 6 of 6



 1          16.      If, for any reason, the Effective Date of Settlement does not occur, this Final Order
 2   and Judgment shall be deemed vacated and shall have no force or effect whatsoever.
 3

 4          17.      Without affecting the finality of the Final Order and Judgment in any way, the
 5   Court reserves continuing jurisdiction over the Parties regarding the execution, consummation,
 6   administration, and enforcement of the terms of the Settlement Agreement.
 7

 8          18.      There being no just reason for delay, the Clerk is directed to enter the Final Order
 9   and Judgment.
10

11          IT IS SO ORDERED.
12
                     10/7/05                                       /s/ CLAUDIA WILKEN
13
            Dated: ____________                                ____________________________
14                                                             Hon. Claudia Wilken
                                                               United States District Jud ge
15                                                             Northern District of California
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                       FINAL JUDGMENT
                                                    -5-                           CASE NO. C 03-02628 CW
